3/31/2020              Case
                       Case2:20-cv-00509-RAJ  Document
                            2:20-cv-00509-RAJ Trademark
                                               Document      22-1
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 Word Mark THE SATANIC TEMPLE
 Goods and IC 045. US 100 101. G & S: Religious services, namely, information and news relating to religious and philosophical
 Services     beliefs by providing information; providing a web site featuring information about religion; Charitable outreach
              services, namely, providing counseling services in the field of religion; Counseling in the field of religion and spiritual
              services. FIRST USE: 20130101. FIRST USE IN COMMERCE: 20130101
 Standard
 Characters
 Claimed
 Mark
 Drawing      (4) STANDARD CHARACTER MARK
 Code
 Serial
              86221887
 Number
 Filing Date March 14, 2014
 Current
              1A
 Basis
 Original
              1A
 Filing Basis
 Date
 Amended to
              December 17, 2014
 Current
 Register
 Registration
              4686134
 Number
 Registration
              February 10, 2015
 Date
 Owner        (REGISTRANT) United Federation of Churches, LLC DBA The Satanic Temple LIMITED LIABILITY COMPANY
              MASSACHUSETTS 519 Somerville Ave. No. 288 Somerville MASSACHUSETTS 02143

tmsearch.uspto.gov/bin/showfield?f=doc&state=4806:qlv2pv.2.3                                                                           1/2
3/31/2020               Case
                        Case2:20-cv-00509-RAJ  Document
                             2:20-cv-00509-RAJ Trademark
                                                Document      22-1
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 Attorney of     Daryl Abbas
 Record
 Disclaimer      NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "SATANIC" APART FROM THE MARK AS SHOWN
 Type of
                 SERVICE MARK
 Mark
 Register        SUPPLEMENTAL
 Live/Dead
                 LIVE
 Indicator




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